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S C H I L L E R




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                    13
                    14                  UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    15
B O I E S




                    16 BROIDY CAPITAL MANAGEMENT                     Case No. 18-cv-02421-JFW
                       LLC and ELLIOTT BROIDY,
                    17                                               MEMORANDUM OF POINTS AND
                    18           Plaintiffs,                         AUTHORITIES IN SUPPORT OF
                                                                     PLAINTIFFS’ OPPOSITION TO
                    19         v.                                    DEFENDANTS STONINGTON
                    20                                               STRATEGIES LLC AND NICOLAS
                       STATE OF QATAR, STONINGTON                    D. MUZIN’S MOTION TO STAY
                    21 STRATEGIES LLC, NICOLAS D.                    THIS CASE, OR ALTERNATELY,
                    22 MUZIN, GLOBAL RISK ADVISORS                   TO STAY DISCOVERY
                       LLC, KEVIN CHALKER, DAVID                     [Declaration of Lee S. Wolosky and
                    23 MARK POWELL, MOHAMMED BIN                     Proposed Order filed concurrently
                    24 HAMAD BIN KHALIFA AL THANI,                   herewith]
                       AHMED AL-RUMAIHI, and DOES 1-
                    25 10,                                           The Honorable John F. Walter
                    26                                               Date: July 9, 2018
                                       Defendants.                   Time: 1:30 p.m.
                    27                                               Ctrm.: 7A
                    28
                                    PLAINTIFFS’ OPPOSITION TO MUZIN AND STONINGTON MOTION TO STAY THIS CASE, OR
                                                                              ALTERNATIVELY TO STAY DISCOVERY
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                     1                         PRELIMINARY STATEMENT 1
                     2         When it comes to lobbyists and their use by foreign sovereigns to try to
                     3 influence the public policy of the United States, this case demonstrates that
                     4 sunshine is the best disinfectant.
                     5         On June 6, 2018, the same day a federal judge in the Southern District
                     6 of New York enforced a third-party subpoena in this matter seeking, among
                     7 other things, “communications regarding Plaintiffs with the State of Qatar or
L L P




                     8 with its officials, agents, or any persons acting on its behalf, including but not
                     9 limited to Nicolas D. Muzin,” (Declaration of Lee Wolosky, dated June 11,
F L E X N E R




                                                      2
                   10 2018 (“Wolosky Decl.”), Exh. C), Defendant Nicolas Muzin precipitously
                   11 announced via Twitter that he and Defendant Stonington Strategies LLC
                                    3
                   12 (“Stonington”) were severing all ties to Defendant State of Qatar (“Qatar”),
S C H I L L E R




                   13 (id. Exh. H). In addition, the recipient of that third-party subpoena – Joseph
                   14 Allaham – immediately disclosed a previously hidden business relationship
                                                                                     4
                   15 with Qatar (characterized by Qatar as a sub-agent relationship) , announced
B O I E S




                   16 the termination of that relationship, and announced that he would belatedly
                   17 file a registration statement under the Foreign Agents Registration Act
                   18 (“FARA”) regarding that relationship. (Id. ¶ 22.) All of this occurred before
                   19 Mr. Allaham produced a single document.
                   20            Similarly, although Muzin complains about Plaintiffs’ “exploitation”
                   21
                         1
                   22     Plaintiffs incorporate by reference the Statement of Facts in Plaintiffs’
                         Opposition to Qatar’s Motion to Stay.
                   23    2
                        The Declaration of Lee Wolosky dated June 11, 2018, refers to the
                   24 declaration filed today in this action in connection with Plaintiffs’ opposition
                   25 to Defendant State of Qatar’s motion to stay discovery.
                      3
                   26 Unless otherwise specified, because Muzin is the owner and founder of
                      Stonington, references herein to “Muzin” include Stonington.
                   27 4
                        If Allaham is an agent or even a sub-agent of Qatar, his actions bind Qatar.
                   28

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                                                                                         5
                     1 of the discovery process through purportedly “expedited” discovery (Muzin
                     2 Br. 2), Plaintiffs’ subpoenas to third-party telecommunications and internet
                     3 service providers (“ISPs”) have revealed Muzin’s pre-publication interactions
                     4 with a reporter who published news articles based on documents stolen from
                     5 the Plaintiffs. Subpoenaed phone records for just one of Muzin’s likely many
                     6 telephone numbers show numerous calls between Muzin and Tom LoBianco
                     7 of the Associated Press. (Wolosky Decl. ¶¶ 12-13.) Defendant Muzin spoke
L L P




                     8 to LoBianco on more than a dozen occasions between March 12, 2018 and
                     9 May 8, 2018, during which time Mr. LoBianco was engaged in extensive
F L E X N E R




                   10 reporting relating to a long feature (published May 21) about Mr. Broidy that
                   11 was based on access to data stolen from Plaintiffs. His activities having been
                   12 exposed by that discovery, Muzin finally (and belatedly) disclosed these
S C H I L L E R




                   13 contacts in a Supplemental FARA disclosure filed on May 22, 2018, nearly
                   14 two months after it was due. (Wolosky Decl. ¶ 11, n.1.)
                   15         As described in greater detail below, this is just one are just example of
B O I E S




                   16 the fruits some of the limited discovery has propounded to date. Far from a
                   17 fishing expedition, Plaintiffs’ discovery to date, conducted pursuant to this
                                             6                                                     7
                   18 Court’s standing order, and a stipulation voluntarily entered into by Muzin,
                   19 is accomplishing exactly what discovery is supposed to do – revealing the
                   20 truth behind the allegations of conspiracy and wrongdoing directed towards
                   21 Plaintiffs as set forth in the First Amended Complaint (“FAC”). Muzin now
                   22 seeks to prevent further disclosure of his wrongdoings. There is no basis for a
                   23   5
                       Muzin does not – and cannot – identify a single discovery request or
                   24 subpoena in this case demanding a response on an expedited basis.
                        6
                   25   See ECF-17 (“Counsel shall begin to actively conduct discovery before the
                      Fed.R.Civ.P. 26(f) conference because at the Scheduling Conference the
                   26 Court will impose tight deadlines to complete discovery.”)
                   27 7 See ECF-46 ¶¶ 3-4.
                   28

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                     1 stay either of discovery or this action.
                     2        Muzin did not brief – and therefore has waived – his request for a stay
                     3 of the entire litigation. With respect to his motion for a stay of discovery,
                     4 Muzin only offers a conclusory showing that he will succeed on the merits.
                     5 First, Muzin’s sovereign immunity arguments fail. The boundaries of
                     6 sovereign immunity – including for lobbyists like Muzin – are strictly defined
                     7 by the Foreign Sovereign Immunities Act (“FSIA”) and the Vienna
L L P




                     8 Convention on Diplomatic Relations (“Vienna Convention” or “Convention”).
                     9 Under these laws and unambiguous precedent interpreting them, United States
F L E X N E R




                   10 citizens and corporations such as Muzin and Stonington cannot claim
                   11 sovereign immunity through foreign principals.
                   12         Second, Muzin’s personal jurisdiction argument fails. The FAC does
S C H I L L E R




                   13 not merely plead that Muzin should have foreseen that his unlawful conduct
                   14 would harm Plaintiffs in California – it pleads that such California harm was
                   15 the specific motivation and intent driving Muzin’s actions. (FAC ¶ 173). The
B O I E S




                   16 FAC further alleges that, using materials stolen from California and as part of
                   17 the conspiracy with Qatar, Muzin was involved in the dissemination of those
                   18 stolen materials directly to the California public through national media
                   19 organizations with massive circulations on line and in print in the State of
                   20 California. (Id. ¶ 15).
                   21         Thirdly, Muzin misrepresents the totality of allegations against him in
                   22 the FAC (and additional evidence against him) in an effort to dodge further
                   23 discovery pending a motion to dismiss pursuant to Rule 12(b)(6).
                   24         Finally, a stay of discovery in this case would prejudice Plaintiffs
                   25 because of the likelihood that critical evidence from telecommunications
                   26 companies and internet service providers will be spoliated in the event of
                   27 further delay. Allowing discovery to proceed in this action significantly
                   28

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                     1 serves the public interest, including by protecting the ability of private U.S.
                     2 citizens to express themselves politically on U.S. soil without fear of
                     3 intimidation and attack from a foreign power, and with respect to Muzin and
                     4 Qatar’s other agents, by furthering the strong public interest in transparency
                     5 around the activities of foreign sovereign’s use of FARA agents to influence
                     6 U.S. public policy and thereby impact our democracy.
                     7                               LEGAL STANDARD
L L P




                     8         Plaintiffs incorporate by reference the general discussion of the relevant
                     9 legal standard for a motion to stay discovery set forth in their Opposition to
F L E X N E R




                   10 Qatar’s Motion, (Pl’s Opp. to SOQ Br. 8), including the standard for
                   11 permitting limited jurisdictional discovery (id. 24-25).
                   12          In addition, Plaintiffs note that, as here, where a defendant seeks a
S C H I L L E R




                   13 complete stay of discovery pending a motion to dismiss on grounds of
                   14 personal jurisdiction, such motions are rarely granted. Muzin does not
                   15 identify a single case granting such a stay. A good reason for allowing
B O I E S




                   16 discovery to continue is that the discovery would be available in another
                   17 court:
                   18          In fact, it could be argued that because these types of motions do
                               not go to the merits of the case, but only to the forum in which it
                   19          proceeds, there is even less reason to stay discovery pending their
                               outcome. Any discovery taken while such a motion is pending
                   20          would, of course, be available for the parties to use if the case is
                               dismissed other than on the merits and then refiled in a Court
                   21          where subject matter or personal jurisdiction is proper.
                   22 Charvat v. NMP, LLC, No. 2:09-CV-209, 2009 WL 3210379, at *2 (S.D.
                   23 Ohio Sept. 30, 2009).
                   24          Lofton v. Bank of Am. Corp., No. C 07-05892 SI, 2008 WL 2037606, at
                   25 *2 (N.D. Cal. May 12, 2008), also provides helpful guidance. In Lofton, a
                   26 putative class representative moved to compel discovery responses from one
                   27 of many defendants, which then cross-moved for a stay of discovery while it
                   28

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                     1 challenged personal jurisdiction. The court denied the motion because the
                     2 plaintiff had “persuasively argu[ed] that he must have access to information
                     3 that involves the merits of his suit” to establish the relationship between the
                     4 numerous defendants, including for jurisdictional purposes. Id. at *2. The
                     5 Lofton Court observed that, as does Muzin here, defendant “claims it had no
                     6 involvement in the program, but plaintiff contends otherwise and points to a
                     7 document that indicates [defendant] may have been involved in and had
L L P




                     8 knowledge of the program.” Id. As a result, the Lofton court held that the
                     9 plaintiff was “entitled to discovery on the merits that may inform his
F L E X N E R




                    10 opposition to CCI’s jurisdictional motion.” Id.
                    11         The same holds true here: Muzin denies involvement in the hacking
                    12 and dissemination of materials stolen from Broidy, Plaintiffs allege the
S C H I L L E R




                    13 contrary, and third-party evidence – the statements of Muzin to Mowbray
                    14 recounted in the FAC (FAC ¶¶ 136-37) and phone records recently obtained
                    15 through discovery (Wolosky Decl. ¶¶ 11) – indicates to the contrary. At a
B O I E S




                    16 minimum, discovery is needed to resolve those issues.
                    17         In addition to his motion to stay discovery, Muzin also seeks to stay the
                                                               8
                    18 entirety of this action. (Muzin Br. 25). Four factors are relevant in
                    19 determining a motion for a stay: “(1) whether the stay applicant has made a
                    20 strong showing that he is likely to succeed on the merits; (2) whether the
                    21 applicant will be irreparably injured absent a stay; (3) whether issuance of the
                    22 stay will substantially injure the other parties interested in the proceeding; and
                    23
                         8
                    24  In addition to stay of discovery, Muzin also seeks a stay of this action in its
                       entirety. (Muzin Br. 25). Other than asserting that Plaintiffs will not suffer
                    25
                       any harm if the case is stayed, (id. 24), Muzin does not brief that aspect of his
                    26 motion. Accordingly, that motion should be denied. Ghahremani v.
                       Gonzales, 498 F.3d 993, 997 (9th Cir. 2007) (“Issues raised in a brief that are
                    27
                       not supported by argument are deemed abandoned.”).
                    28

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                     1 (4) where the public interest lies.” Nken v. Holder, 556 U.S. 418, 434 (2009).
                     2 “The party requesting a stay bears the burden of showing that the
                     3 circumstances justify an exercise of [the Court’s] discretion.” Id. at 433-34.
                     4 If “there is even a fair possibility” that granting the stay will “work damage”
                     5 to the non-moving parties, Muzin “must make out a clear case of hardship or
                     6 inequity in being required to go forward.” Landis v. N. Am. Co., 299 U.S.
                     7 248, 255 (1936) (emphasis added). “[B]eing required to defend a suit, without
L L P




                     8 more, does not constitute a “clear case of hardship or inequity” within the
                     9 meaning of Landis.” Lockyer v. Mirant Corp., 398 F.3d 1098, 1112 (9th Cir.
F L E X N E R




                    10 2005); see also California Trout, Inc. v. United States Bureau of Reclamation,
                    11 115 F. Supp. 3d 1102, 1117 (C.D. Cal. 2015) (“However, diverting staff
                    12 attention from other activities does not sufficiently satisfy the requirement of
S C H I L L E R




                    13 hardship or inequity.”). As set out fully below, Muzin has failed to
                    14 demonstrate a likelihood of success on the merits of his anticipated motions,
                    15 much less a strong showing of such success. He also does not clearly identify
B O I E S




                    16 any “hardship or inequity” that would entitle him to a stay of all proceedings
                    17 in this case.
                    18                                     ARGUMENT 9
                    19       I.   MUZIN HAS NOT DEMONSTRATED THAT HE IS LIKELY TO
                                  BE IMMUNE TO SUIT
                    20
                                  A. Muzin Is Not Entitled To Derivative Sovereign Immunity
                    21
                                  Muzin is not entitled to derivative sovereign immunity. As an initial
                    22
                         matter, because Qatar itself is not entitled to sovereign immunity in this matter
                    23
                         (see Pl’s Opp. to SOQ Br. 10-15), Muzin cannot derive immunity from his
                    24
                         9
                    25  Plaintiffs incorporate by reference both the Statement of Facts and
                       Arguments sections of Plaintiff’s Opposition to the State of Qatar’s Brief.
                    26 Plaintiffs address certain arguments specific to Muzin in the remainder of this
                    27 brief.
                    28

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                     1 relationship to Qatar.
                     2         Even if Qatar were immune to suit, however, Muzin would remain
                     3 subject to the jurisdiction of this Court. Neither Muzin nor Stonington is a
                     4 foreign state within the meaning of FSIA, nor an “agency or instrumentality”
                     5 thereof, which is strictly defined as any entity “which is an organ of a foreign
                     6 state or political subdivision thereof, or a majority of whose shares or other
                     7 ownership interest is owned by a foreign state or political subdivision
L L P




                     8 thereof.” 28 U.S.C. § 1603(b)(2). Moreover, with respect to Muzin
                     9 individually, the Supreme Court has made clear that no “individual,” even a
F L E X N E R




                    10 foreign government official, enjoys sovereign immunity under the FSIA.
                    11 Samantar v. Yousuf, 560 U.S. 305, 315 (2010).
                    12         Nor can Muzin claim derivative sovereign immunity by virtue of his
S C H I L L E R




                    13 contractual relationship with the State of Qatar under Yearsley v. W.A. Ross
                    14 Const. Co., 309 U.S. 18 (1940). Yearsley has nothing to do with foreign
                    15 sovereign immunity or the Supreme Court’s well-developed FSIA
B O I E S




                    16 jurisprudence. It addresses immunity for a U.S. contractor who performed
                    17 work for the “United States Government, and under the direction of the
                    18 Secretary of War and the supervision of the Chief of Engineers of the United
                    19 States.” Id. at 19. Yearsley held that if the U.S. government contractor’s
                    20 work “was done was within the constitutional power of Congress, there is no
                    21 liability on the part of the contractor for executing its will.” Id. at 20-21
                    22 (emphasis added).
                    23         Muzin is a statutory FARA agent and his assertions of immunity must
                    24 fall within the parameters of immunity of that statute and the FSIA. Muzin
                    25 acknowledges as much when he invokes “‘the immunity framework adopted
                    26 by the FSIA.’” (Muzin Br. 25.) Yearsley is thus inapposite and Muzin may
                    27 look only to the FSIA for immunity.
                    28

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                     1         Samantar is the controlling case on the extension of sovereign
                     2 immunity beyond “foreign states” as defined in the FSIA. Samantar held that
                     3 no individual may claim immunity under the FSIA because “[r]eading the
                     4 FSIA as a whole, there is nothing to suggest that “foreign state” should be
                     5 read to include an official acting on behalf of that state.” 560 U.S. at 319.
                     6 Although Samantar concerned the applicability of the FSIA to individuals, the
                     7 Court notably observed that “[t]he Act specifies that a foreign state ‘includes a
L L P




                     8 political subdivision or an agency or instrumentality’ of that state, §1603(a),
                     9 and specifically delimits what counts as an ‘agency or instrumentality.’” Id.
F L E X N E R




                    10 at 315 (emphasis added). As discussed above, neither Muzin nor Stonington
                    11 satisfies this specifically delimited definition of an agency or instrumentality.
                                                                                    10
                    12 Therefore, they cannot enjoy any form of sovereign immunity.
S C H I L L E R




                    13         Samantar also held that where, as here, no “Suggestion of Immunity”
                    14 has been entered by the State Department with respect to a person or entity
                    15 seeking immunity, the Court should look to “whether the ground of immunity
B O I E S




                    16 is one which it is the established policy of the [State Department] to
                    17 recognize.” Samantar, 560 U.S. at 312 (quoting Republic of Mexico v.
                    18 Hoffman, 324 U.S. 30, 36 (1945)). Here, State Department policy is clear that
                    19 “U.S. nationals, legal permanent residents, or who are permanently resident in
                    20 the United States enjoy no personal inviolability or jurisdictional immunity in
                    21 the United States.” United State Department of State’s Office of Foreign
                    22 Missions, “Diplomatic and Consular Immunity: Guidance for Law
                    23 Enforcement and Judicial Authorities,” 12 (2015),
                    24   10
                         Muzin cites only a single case importing the Yearsley analysis to the context
                    25 of FSIA immunity – Butters v. Vance Int’l, Inc., 225 F.3d 462, 466 (4th Cir.
                    26 2000). But that case predates Samantar, which makes clear that foreign
                       sovereign immunity must be interpreted strictly within the bounds of the
                    27 language of the FSIA. See Samantar, 560 U.S. at 315-19.
                    28

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                     1 https://www.state.gov/documents/organization/150546.pdf (emphasis added).
                     2 This official statement of the State Department precludes any claim by Muzin,
                     3 a Canadian-born permanent resident of the United States, or Stonington, a
                     4 Delaware corporation, of derivative sovereign immunity under FSIA.
                     5         Derivative sovereign immunity also cannot apply to the type of work
                     6 engaged in by Muzin here. The FSIA explicitly exempts commercial activity
                     7 from immunity: “A foreign state shall not be immune from the jurisdiction of
L L P




                     8 courts of the United States or of the States in any case . . . in which the action
                     9 is based upon a commercial activity carried on in the United States by the
F L E X N E R




                    10 foreign state[.]” 28 U.S.C. § 1605(a)(2); see also Holden v. Canadian
                    11 Consulate, 92 F.3d 918, 920 (9th Cir. 1996) (“[A] foreign state is not immune
                    12 if the plaintiff’s cause of action is based upon a commercial activity carried on
S C H I L L E R




                    13 by the foreign state.”). There is “a per se rule that Americans and third
                    14 country nationals, even if employed by a foreign state . . . count as
                    15 commercial employees.” El-Hadad v. United Arab Emirates, 496 F.3d 658,
B O I E S




                    16 667 (D.C. Cir. 2007). Although the FSIA does not explicitly define
                    17 “commercial activity,” in this context the Ninth Circuit has “adopt[ed] the
                    18 standard suggested by the legislative history, that is, employment of
                    19 diplomatic, civil service or military personnel is governmental and the
                    20 employment of other personnel is commercial.” Holden, 92 F.3d at 921
                    21 (emphasis added).
                    22         Even if Samantar did not control the issue of sovereignty immunity for
                    23 Muzin, he cannot claim that his FARA agreement with Qatar was intended to
                    24 grant him immunity from suit. The August 24, 2017 agreement (the
                    25 “Agreement”) between Qatar and Stonington filed with the Department of
                    26 Justice as part of Muzin’s FARA reporting requirement stated that Stonington
                    27 is “not authorized by This Agreement to act as a[n] . . . agent on behalf of the
                    28

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                     1 Embassy or the State of Qatar . . . This Agreement is not intended to
                     2 establish an employer-employee relationship, or principal-agent
                     3 relationship.” https://www.fara.gov/docs/6458-Exhibit-AB-20170903-1.pdf
                     4 (emphasis added). Although the FAC alleges that Muzin acted as Qatar’s
                     5 agent (FAC ¶ 3), it is clear from the language of the Agreement that Qatar had
                     6 no intention of extending its own legal immunities, to the extent they might
                                                                                 11
                     7 exist, to Muzin for actions undertaken at Qatar’s behest.
L L P




                     8         B. Muzin Is Not A “Diplomatic Agent” Of Qatar12
                               Muzin also does not fall within the scope of the protections of the
F L E X N E R




                     9
                    10 Vienna Convention, which provides immunity only to “a diplomatic agent” or
                    11 the “diplomatic staff” of a sovereign. Vienna Convention on Diplomatic
                    12 Relations, Apr. 18, 1961, art. 31, 23 U.S.T. 3227, T.I.A.S. No. 7502 (“A
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                    13 diplomatic agent shall enjoy immunity from the criminal jurisdiction of the
                    14 receiving State” as well as “immunity from its civil and administrative
                    15 jurisdiction,” except in certain circumstances.); Tabion v. Mufti, 73 F.3d 535,
B O I E S




                    16 537 (4th Cir. 1996) (“The Vienna Convention provides diplomats with
                    17 absolute immunity from criminal prosecution and protection from most civil
                    18 and administrative actions brought in the ‘receiving State,’ i.e., the state where
                    19 they are stationed.”). A “diplomatic agent” is narrowly defined under the
                    20 Convention as “the head of the mission or a member of the diplomatic staff of
                    21   11
                           At a minimum, discovery intended to discover the scope of the agency is
                    22   appropriate. Where “the record does not contain enough evidence to
                    23   determine whether [the agent] acted in conformity with [its assignment], its
                         appended task orders, and any laws and regulations that the contract
                    24   incorporates,” discovery is appropriate. In re KBR, Inc., Burn Pit Litig., 744
                    25   F.3d 326, 345 (4th Cir. 2014).
                         12
                    26   Muzin’s argument that his communications with Qatar are privileged under
                       the Vienna Convention are addressed in Plaintiffs’ Opposition to Qatar’s
                    27 Motion to Stay at 18-21.
                    28

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                     1 the mission.” Vienna Convention on Diplomatic Relations, art. 1(e); see also
                     2 Transnational Litigation § 29:90 (“The definition of a ‘diplomatic agent’
                     3 under the Vienna Convention is limited, in that it relates to ‘the head of the
                     4 mission or a member of the diplomatic staff of the mission.’” (emphasis
                     5 added)). The diplomatic staff in turn “are the members of the staff of the
                     6 mission having diplomatic rank.” Vienna Convention on Diplomatic
                     7 Relations, art. 1(d).
L L P




                     8         Muzin plainly does not satisfy either of these tests. Neither Muzin
                     9 personally nor anyone at Stonington heads the Qatari mission to the United
F L E X N E R




                    10 States. Stonington employees such as Muzin are not members of the staff of
                    11 the mission with diplomatic rank nor have they had credentials presented to
                    12 the United States Department of State, which is a prerequisite to immunity
S C H I L L E R




                    13 under the Vienna Convention. Vulcan Iron Works, Inc. v. Polish Am. Mach.
                    14 Corp., 479 F. Supp. 1060, 1064 (S.D.N.Y. 1979) (“[I]t is reasonable to
                    15 assume that the drafters of the Convention intended that recognition of an
B O I E S




                    16 individual’s status as a member of a diplomatic mission, and recognition of
                    17 the privileges and immunities attendant on such status, should depend on the
                    18 formal notification required by Article 10.”). Muzin is not a permanent
                    19 resident of Qatar or another foreign state. Muzin is permanently a resident in
                    20 the United States and Stonington is a Delaware corporation that exists only in
                    21 the United States. Athridge v. Aetna Cas. & Sur. Co., 163 F. Supp. 2d 38, 56
                    22 (D.D.C. 2001) (Convention protections only extend to those “not permanently
                    23 resident in the United States”), aff’d in part, rev’d in part, 351 F.3d 1166
                    24 (D.C. Cir. 2003).
                    25         Muzin addresses only one of these points, arguing that Stonington’s
                    26 “FARA registration serves as notice to the State Department sufficient for
                    27 diplomatic immunities to attach to Stonington.” (Muzin Br. 18 (emphasis
                    28

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                     1 added).) FARA registration is made with the Department of Justice, not the
                     2 Department of State. More importantly, the very fact of Muzin’s FARA
                     3 registration defeats his claims of immunity. FARA specifically applies only
                     4 to persons and entities who are not diplomatic agents or staff, stating that it
                     5 “shall not apply to . . . [a] duly accredited diplomatic or consular officer of a
                     6 foreign government who is so recognized by the Department of State, while
                     7 said officer is engaged exclusively in activities that are recognized by the
L L P




                     8 Department of State as being within the scope of the functions of such
                     9 officer[.]” 22 U.S.C. § 613(a) (emphasis added). FARA thus does not confer
F L E X N E R




                    10 diplomatic immunity upon a registrant. To the contrary, registration was
                    11 required of Muzin precisely because neither Muzin nor anyone at Stonington
                    12 is a diplomatic officer with corresponding immunity.
S C H I L L E R




                    13         Muzin’s argument that FARA registration confers immunity upon him
                    14 also runs counter to the purpose of FARA as “a disclosure statute.” Attorney
                    15 Gen. of U.S. v. Covington & Burling, 411 F. Supp. 371, 373 (D.D.C. 1976).
B O I E S




                    16 FARA was enacted to ensure disclosure of lobbying being conducted by U.S.
                    17 citizens on behalf of foreign states. See Dep’t of Justice Nat’l Sec. Div.,
                    18 National Security Division Announces Enhanced Foreign Agents Registration
                    19 Act Website, May 31, 2007 (“The purpose of the Foreign Agents Registration
                    20 Act is to protect the national defense, internal security, and foreign relations of
                    21 the U.S. by requiring public disclosure by persons engaged in certain political
                    22 and quasi-political activities on behalf of foreign principals to ensure the
                    23 American public and its law makers know the source of information intended
                    24 to sway public opinion, policy and laws.”). It requires that “information
                    25 distributed by registered agents be prefaced or accompanied by a true and
                    26 accurate statement to the effect that such person is registered as an agent of
                    27 such foreign principal[.]” 22 U.S.C. § 614(e). Nothing in this “disclosure
                    28

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                     1 statute” suggests that it is intended to confer diplomatic immunity upon its
                     2 United States agents, or that activities within its scope should be kept
                     3 concealed from public purview.
                     4         The case law cited by Muzin is inapposite. Palestine Info. Office v.
                     5 Shultz, 853 F.2d 932, 938-39 (D.C. Cir. 1988), did not address diplomatic
                     6 immunity at all. Rather, the court affirmed the constitutionality of the State
                     7 Department’s designation of the Palestinian Information Office (“PIO”) as a
L L P




                     8 “foreign mission” of the Palestine Liberation Organization (“PLO”) under the
                     9 Foreign Missions Act, 22 U.S.C. § 4301 et seq., which designation permitted
F L E X N E R




                    10 the State Department to order the closure of the PIO. Here, there has been no
                    11 such “foreign mission” designation by the State Department. Similarly, Att’y
                    12 General of the U.S. v. Irish People, Inc. 684 F.2d 928, 937 (D.C. Cir 1982)
S C H I L L E R




                    13 addresses only whether the defendant newspaper was required to register as a
                    14 foreign agent under FARA – not whether the newspaper would then be
                    15 immune to suit as a result.
B O I E S




                    16   II.   MUZIN IS NOT LIKELY TO SUCCEED ON THE MERITS OF
                               HIS ANTICIPATED MOTION TO DISMISS FOR LACK OF
                    17         PERSONAL JURISDICTION
                    18         As will be explained more fully in Plaintiffs’ opposition to Muzin’s
                    19 expected motion to dismiss, Muzin has failed to demonstrate that this Court
                    20 may not exercise personal jurisdiction over him.
                    21         Where a case alleges tort claims, the Ninth Circuit employs a
                    22 “purposeful direction” test. See Axiom Foods, Inc. v. Acerchem Int’l, Inc.,
                    23 874 F.3d 1064, 1069 (9th Cir. 2017). The test, which derives from Calder v.
                    24 Jones, 465 U.S. 783 (1984), requires that the defendant must have “(1)
                    25 committed an intentional act, (2) expressly aimed at the forum state, (3)
                    26 causing harm that the defendant knows is likely to be suffered in the forum
                    27 state,” Axiom, 874 F.3d at 1069 (citation omitted). Although Muzin does not
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                     1 brief the law on this point, he appears to argue that Plaintiffs do not meet that
                     2 test by asserting that the FAC alleges only that “unlawful conduct was aimed
                     3 at and attempting to influence individuals in New York and Washington.”
                     4 (Muzin Br. 14.) This argument misrepresents Plaintiffs’ allegations.
                     5 Plaintiffs do allege that Defendants were motivated by a desire to change the
                     6 views of decision makers in Washington, D.C. in order to obtain relief from
                     7 the international trade embargo imposed on Qatar as a result of its support for
L L P




                     8 terrorist organizations. (FAC ¶¶ 27, 31, 40.) But the FAC alleges that the
                                                       13
                     9 Defendants specifically targeted Elliott Broidy in this District because of his
F L E X N E R




                    10 outspoken criticism of Qatar and the fact that the President of the United
                    11 States in June 2017 publicly identified Broidy with the President’s own
                    12 support of the trade embargo. (Id. ¶¶ 4, 27, 50-51, 79-80.) Defendants –
S C H I L L E R




                    13 including Muzin – “fingered” Plaintiffs’ employees and family members in
                    14 California and caused harm to them here. Although the FAC alleges that
                    15 other defendants targeted Plaintiffs’ computer servers and emails accounts in
B O I E S




                    16 California, the FAC alleges that Muzin (among others) deliberately caused
                    17 harm to Plaintiffs through dissemination to the national media of materials
                    18 stolen from those servers and accounts. (See, e.g., FAC ¶¶ 7, 14-15, 35, 40,
                    19 91, 93, 112, 115, 121-22, 126, 128-29, 137, 157, 233.) This is precisely the
                    20 type of “individualized targeting” that the Ninth Circuit has held satisfies the
                    21 express aiming requirement of Calder and its progeny. Axiom, 874 F.3d at
                    22 1071 (“We have held that ‘individualized targeting’ satisfies the express
                    23 aiming requirement.” (citation omitted)).
                    24         Muzin next argues that the allegations of the FAC against him do not
                    25 satisfy the requirements of Walden v. Fiore, 571 U.S. 277 (2014), which
                    26   13
                         “Fingered” is the term adopted by Muzin to describe what he and others did
                    27 to Plaintiff Broidy. (Mowbray Declaration, ECF-31-4.)
                    28

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                     1 requires that a foreign defendant’s suit-related conduct create a substantial
                     2 connection with the forum state (Muzin Br. 13-14). In making this argument,
                     3 Muzin relies on Axiom, 874 F.3d 1064, in which the Ninth Circuit found that,
                     4 under Walden, the Court did not have jurisdiction over foreign defendants that
                     5 allegedly violated plaintiffs’ copyright in newsletters that went to “no more
                     6 than ten” residents of California, id. at 1070. (Muzin Br. 13.) This argument
                     7 ignores Axiom’s express comparison of the limited contacts defendants had
L L P




                     8 with California with the defendants’ contacts in Calder, 465 U.S. at 784-86,
                     9 788-89, which held that out-of-state defendants could be subject to personal
F L E X N E R




                    10 jurisdiction in California where defendants used California sources and media
                    11 as a weapon and plaintiffs suffered reputation-based effects, like here. See
                    12 Axiom, 874 F.3d at 1071. As explained there:
S C H I L L E R




                    13        Calder is instructive to show how different the facts are in this
                              case. In Calder, a California actress brought a libel action
                    14        against two nonresident defendants in California state court,
                              based on an article defendants wrote for the National Enquirer.
                    15        The Supreme Court found the defendants’ “forum contacts to be
B O I E S




                              ample.” The defendants contacted “California sources” for
                    16        information and wrote about the actress’s activities in California.
                              Roughly 600,000 copies of the article were sold in California,
                    17        where the actress suffered the “brunt” of the reputational injury.
                              In short, “[t]he crux of Calder was that the reputation-based
                    18        ‘effects’ of the alleged libel connected the defendants to
                              California, not just to the plaintiff.” In this case, Acerchem UK
                    19        sent one newsletter to a maximum of ten recipients located in
                              California, in a market where Acerchem UK has no sales or
                    20        clients. The alleged infringement barely connected Acerchem
                              UK to California residents, much less to California itself.
                    21
                    22 Id. (internal citations omitted) (emphasis added).
                    23        This case is more akin to Calder than Axiom. While the foreign
                    24 defendants in Calder wrote articles that were distributed to 600,000 persons in
                    25 California, in Axiom “[n]o more than ten of the newsletter’s recipients were
                    26 physically located in California. Indeed, most of the recipients were located
                    27 in Western Europe.” 874 F.3d at 1070. Here, Defendants ensured that
                    28

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                     1 hundreds of thousands, if not millions of California residents received reports
                     2 of Plaintiffs’ stolen materials. Indeed, just one of the publications that
                     3 published materials stolen from Plaintiffs, The Wall Street Journal (FAC
                                                                           14
                     4 ¶ 121), has 202,465 print subscribers in California, a number that does not
                     5 include the Journal’s digital subscribers in California, or readers in California
                                                               15
                     6 that do not have personal subscriptions. In addition, discovery has shown
                     7 that Defendant Muzin had numerous contacts during pertinent periods with
L L P




                     8 publications that published articles about Plaintiff Broidy, including
                     9 McClatchy, the New York Times, the Associated Press, and Bloomberg
F L E X N E R




                    10 News. (Wolosky Decl. ¶ 11.) The McClatchy Company is based in
                                               16
                    11 Sacramento, California.
                    12         In addition, just as the Calder defendants “contacted ‘California
S C H I L L E R




                    13 sources’ for information and wrote about the actress’s activities in California,”
                    14 Axiom, 874 F.3d at 1071 (citing Calder, 465 U.S. 788-90), Muzin and his co-
                    15 conspirators obtained information from “sources” in California – namely,
B O I E S




                    16 computer servers and email accounts located in California (FAC ¶¶ 115, 128)
                    17 which were hacked by Muzin’s coconspirators with his knowledge and
                    18 approval, (id. ¶¶ 134, 136-37). Muzin then took the information obtained
                    19 from those sources and, through unlawful dissemination of those materials to
                    20 the national media, sent it back en masse to California residents in an effort to
                    21
                    22   14
                          See Circulation & Distribution Areas, Wall Street Journal,
                    23 https://classifieds.wsj.com/circulation-distribution-areas/ (last visited June 11,
                       2018).
                    24 15
                          Jurisdictional discovery of all the news outlets that reported on materials
                    25 stolen from Plaintiffs likely would reveal that they reached millions of
                    26 Californians.
                         16
                           Contact McClatchy, McClatchy http://www.mcclatchy.com/contact (last
                    27
                         visited June 11, 2018).
                    28

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                     1 neutralize the exercise of free speech undertaken by California resident Elliott
                     2 Broidy. (See id. ¶¶ 14, 35, 91.)
                     3         In fact, the case for personal jurisdiction is stronger here than in Calder.
                     4 Defendants in Calder were subject to personal jurisdiction in California where
                     5 they could only “foresee that the article will be circulated and have an effect
                     6 in California.” Calder, 465 U.S. at 789. Here, Muzin did not merely
                     7 “foresee” massive distribution by the media in California of Plaintiffs’ stolen
L L P




                     8 information and “reputation-based” harm, Calder, 874 F.3d 1071, to Plaintiffs
                     9 in California – that result was Muzin’s specific intent. The FAC alleges
F L E X N E R




                    10 Muzin’s intent was to harm Plaintiff Broidy; Muzin “acknowledged that
                    11 everyone he ‘fingered’ was ‘in danger’” (FAC ¶ 136), and when accused of
                    12 “targeting plaintiff Broidy for the State of Qatar and assisting in the hacks on
S C H I L L E R




                    13 Plaintiffs . . . Muzin responded, ‘I was doing my job’” (id. ¶ 137; see also id.
                    14 ¶¶ 88 (“Defendant Muzin brought up Plaintiff Broidy in these meetings as an
                    15 obstacle that needed to be dealt with for his lobbying on behalf of Qatar to
B O I E S




                    16 succeed.”), 91 (“Stonington, and Muzin, targeted Plaintiff Broidy
                    17 specifically.”).) Muzin also specifically is alleged to have engaged with the
                    18 media with respect to the stolen materials, demonstrated foreknowledge of
                                                                               17
                    19 reporting on stolen materials (FAC ¶¶ 131, 134-35, 138), and may well have
                    20 been involved directly in the handoff of those materials to the press (see FAC
                    21 ¶ 118 (“[S]ome of the unlawfully obtained documents were given to United
                    22 States media outlets in hard-copy form by hand-delivery within the United
                    23 States.”)).
                    24         Muzin cannot plausibly argue that he expected Plaintiff Broidy to feel
                    25
                         17
                    26   Discovery has already shown that Defendant Muzin exchanged dozens of
                       calls with certain of these media outlets during the critical time frame.
                    27 (Wolosky Decl. ¶¶ 11-12.)
                    28

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                     1 the intended harm any place other than where Mr. Broidy lived and worked:
                     2 California. As explained in Calder:
                     3        Petitioners are not charged with mere untargeted negligence.
                              Rather, their intentional, and allegedly tortious, actions were
                     4        expressly aimed at California. Petitioner South wrote and
                              petitioner Calder edited an article that they knew would have a
                     5        potentially devastating impact upon respondent. And they knew
                              that the brunt of that injury would be felt by respondent in the
                     6        State in which she lives and works . . . Under the circumstances,
                              petitioners must reasonably anticipate being haled into court
                     7        there.
L L P




                     8 Calder, 465 U.S. 789-90 (citation and internal quotation marks omitted)
                     9 (emphasis added).
F L E X N E R




                    10        None of the out-of-state defendants in Calder had significant contacts
                    11 with California, Calder, 465 U.S. at 786, and each had less significant
                    12 contacts with California than Muzin, who is alleged to have “frequently
S C H I L L E R




                    13 traveled to California for business and political purposes during recent years”
                    14 (FAC ¶ 21). Nonetheless, the Supreme Court found unanimously that “[a]n
                    15 individual injured in California need not go to Florida to seek redress from
B O I E S




                    16 persons who, though remaining in Florida, knowingly cause the injury in
                    17 California.” Calder, 465 U.S. at 790. This holding remains the law in the
                    18 Ninth Circuit. See Axiom, 874 F.3d at 1069, 1070-71.
                    19        Muzin also cannot escape jurisdiction by asserting that the sole basis of
                    20 personal jurisdiction over him is a conspiracy allegation. The FAC contains
                    21 multiple allegations that Muzin was personally and directly involved in the
                    22 weaponization of documents stolen from Plaintiffs and the distribution of
                    23 those documents to the mass media in an effort to cause Mr. Broidy specific
                    24 harm in California. (See FAC ¶¶ 129 (“[T]he Agent Defendants also carried
                    25 out that conspiracy and unlawfully accessed Plaintiffs’ private
                    26 communications . . . and further engaged in distribution of that information to
                    27 media outlets.”); 131-32; compare FAC ¶ 13 (“On March 5, 2018, Defendant
                    28

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                     1 Muzin informed Mowbray that there was ‘more stuff coming’ from the New
                     2 York Times”), with ¶ 138 (describing the March 22nd and 26th New York
                     3 Times articles “rely[ing] on ‘[h]undreds of pages of Mr. Broidy’s emails,
                     4 proposals and contracts,” “as foretold by Defendant Muzin on March 5th”).)
                     5         Moreover, prior to the completion of discovery, allegations demarking
                     6 the line between actions undertaken by Muzin and those undertaken by the
                     7 Doe Defendants is necessarily, in some instances, blurred. In such cases,
L L P




                     8 where jurisdictional discovery is intertwined with merits discovery, courts opt
                     9 to permit discovery to move forward unfettered. See, e.g., Madsen v. Buffum,
F L E X N E R




                    10 No. ED 12-01605-MWF (SPx), 2013 WL 12139139, at *4 (C.D. Cal. July 17,
                    11 2013) (“The Court sees no reason to steer this litigation towards
                    12 ‘jurisdictional’ discovery and an evidentiary hearing when any such discovery
S C H I L L E R




                    13 would be so intertwined with discovery on the merits of Plaintiffs’ claims.
                    14 Instead, this action will proceed to full fact discovery on both personal
                    15 jurisdiction and the merits.”). Here, it currently is unclear whether and to
B O I E S




                    16 what extent Muzin conspired to steal and disseminate Plaintiffs’ private
                    17 communications or only participated in the dissemination of the stolen
                    18 materials.
                    19         Facts already obtained in discovery reveal numerous contacts between
                    20 Muzin and reporters who later wrote offensive and inaccurate stories about
                    21 Plaintiffs. (Wolosky Decl. ¶¶ 11-12.) These contacts occurred
                    22 contemporaneously with the cyberattack and in the days prior to reporters
                    23 publishing damaging stories. See supra at 2-3. Finally, although Muzin is
                    24 alleged to have acted directly against Plaintiffs, and not merely
                    25 in conspiracy against them, the conspiracy allegations here would be
                    26 sufficient to confer personal jurisdiction. The Ninth Circuit has never
                    27 addressed whether the conspiracy theory of personal jurisdiction applies. In
                    28

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                     1 any event, Plaintiffs do not claim ties to California that rest merely on
                     2 personal jurisdiction over a co-conspirator. Rather, Plaintiffs allege that
                     3 Muzin’s own actions in the conspiracy were directed at California. Here, as
                     4 discussed above, the conspiracy allegations against Muzin allege purposeful
                     5 direction towards California under Calder, and the specific California-specific
                     6 contacts required by Walden are satisfied by Muzin’s direct targeting of
                     7 Plaintiffs in California – whether Muzin stole electronic materials himself, or
L L P




                     8 merely collated them and propagated them to the international news media in
                     9 order to cause harm to Plaintiffs in California.
F L E X N E R




                    10 III.   PLAINTIFFS HAVE STATED A CLAIM AGAINST MUZIN
                    11        Contrary to Muzin’s assertion that the FAC “lumps Stonington with
                    12 fourteen other defendants,” (Muzin Br. 19-20), the FAC contains numerous
S C H I L L E R




                    13 allegations specific to Muzin, including specific allegations concerning
                    14 Muzin’s own admissions of involvement in targeting Plaintiff Broidy, (see
                                      18
                    15 FAC ¶¶ 131-38). Those allegations are specific to the alleged campaign to
B O I E S




                    16 distribute Plaintiffs’ stolen confidential communications and other documents
                    17 to U.S.-based news organizations. Muzin implicated himself in the
                    18 distribution efforts by the statements he made to Mowbray and by telling Mr.
                    19 Mowbray “to be very careful” because the State of Qatar was “after you and
                    20 Broidy.” (Id. ¶ 136.) The FAC also alleges that Muzin was aware of
                    21 information in articles based on emails stolen from Plaintiffs before those
                    22 articles were published. (See id. ¶¶ 131-38.) These allegations are not just
                    23 supposition – telephone records demonstrate Muzin’s contact with key
                    24 reporters during critical, pre-publication time periods. (Wolosky Decl. ¶¶ 11-
                    25 12.)
                    26   18
                         The standard of review on a motion pursuant to Fed. R. Civ. P. 12(b)(6) is
                    27 set forth in Plaintiffs’ Opposition to SOQ’s Motion to Stay at 22-24.
                    28

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                     1         These specific allegations of Muzin’s participation in the dissemination
                     2 of Plaintiffs’ private emails is sufficient to state a claim for several of the
                     3 causes of action pleaded in the FAC. For example, to have the inculpatory
                     4 knowledge that he admitted to Mowbray (FAC ¶¶ 133, 135, 138), Muzin
                     5 presumably had to be in possession of property stolen from Plaintiffs. The
                     6 distribution of Plaintiffs’ private communications renders Muzin liable for
                     7 invasion of privacy by intrusion upon seclusion and conversion. By
L L P




                     8 disclosing trade secrets contained in Plaintiffs’ server, Muzin is subject to
                     9 liability under the Digital Millennium Copyright Act, the California Uniform
F L E X N E R




                    10 Trade Secrets Act, and 18 U.S.C. § 1836.
                    11         Finally, the FAC’s allegations are sufficient to survive a motion to
                    12 dismiss Plaintiffs’ conspiracy claim against Muzin. The allegations in the
S C H I L L E R




                    13 FAC do “more than simply state that” Muzin was “aware” of the State of
                    14 Qatar’s plan to target Plaintiffs. Arei II Cases, 157 Cal. Rptr. 3d 368, 383
                    15 (Cal. Ct. App. 2013). The FAC alleges that Muzin demonstrated his
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                    16 awareness when he repeatedly told Mowbray about the plan and demonstrated
                    17 his involvement in it by reporting on aspects of the plan before they were
                    18 accomplished. (FAC ¶ 134.) In addition to admitting his knowledge of the
                    19 plan, after being accused of targeting Plaintiffs, Muzin defended himself by
                    20 saying “I was just doing my job.” (Id. ¶ 137 (emphasis added).) Plaintiffs do
                    21 not need to allege that Muzin led the conspiracy, merely that he agreed to
                    22 participate and seek to achieve the conspiracy’s objectives. Arei II, 157 Cal.
                    23 Rptr. 3d at 382. By admitting that he was doing “his job” Muzin implicated
                    24 both himself and Stonington in the conspiracy to target Plaintiffs, which is
                    25 sufficient to state of cause of action under Fed. R. Civ. Pro. 12 (b)(6).
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                         IV.   ADDITIONAL FACTORS WEIGH IN FAVOR OF
                     1         CONTINUING DISCOVERY DURING THE PENDENCY OF
                               MUZIN’S MOTION TO DISMISS
                     2
                               The application of the facts in this case to the factors set out by this
                     3
                         Court in Top Rank, Inc. v. Haymon, No. CV154961JFWMRWX, 2015 WL
                     4
                         9952887 (C.D. Cal. Sept. 17, 2015)19 are discussed in detail in Plaintiffs’
                     5
                         Opposition to Qatar’s Motion to Stay. (Pl.’s Opp. to SOQ Br. at 8-22.)
                     6
                         Plaintiffs offer the following additional commentary regarding two of those
                     7
                         factors with respect to Muzin. First, Plaintiffs are highly likely to suffer
L L P




                     8
                         prejudice if discovery is delayed because of potential spoliation of the specific
F L E X N E R




                     9
                         types of telecommunications, ISP and other electronic evidence that have
                    10
                         already established that Muzin was communicating with relevant media
                    11
                         companies relevant to the allegations of the FAC at critical times. (See
                    12
S C H I L L E R




                         Wolosky Decl. ¶¶ 11-12.) Some of the information already has been
                    13
                         spoliated. (See id. ¶¶ 15-17.) This type of spoliation is reason enough to deny
                    14
                         the stay sought by Muzin. See Sandoval v. Friendlum, Inc., No. 17CV1917-
                    15
B O I E S




                         MMA (BGS), 2018 WL 1150837, at *5 (S.D. Cal. Mar. 2, 2018) (“[T]he
                    16
                         Court finds that a stay would result in the potential of prejudicing Plaintiff
                    17
                         with regards to delayed discovery . . . if the Court grants a stay in this case,
                    18
                         [plaintiff] may struggle to obtain call logs from third-party carriers with
                    19
                         retention periods lasting as short as six months.”). 20
                    20
                         19
                    21    Those factors are: “(1) the interests of the plaintiff in proceeding
                    22 expeditiously with the civil action and the potential prejudice to plaintiffs of a
                       delay; (2) the burden on the defendants; (3) the convenience to the court; (4)
                    23 the interests of persons not parties to the civil litigation; and (5) the public
                    24 interest.” Top Rank, 2015 WL 9952887, at *1.
                       20
                          Plaintiffs also note that on June 8, one day after Allaham announced both
                    25
                       the disclosure and severance of his ties with Qatar, Plaintiffs asked for
                    26 confirmation that he would not transfer any materials in his possession to
                       Qatar pursuant to any confidentiality agreement governing their relationship.
                    27
                       (Wolosky Decl. ¶¶ 22-25 & Exh. D.) Allaham’s counsel failed to provide the
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                     1         In addition, the interest of the public is in rapid resolution of this
                     2 litigation and in transparency around the activities of FARA agents paid vast
                     3 sums of money by foreign powers to influence our democracy. The case
                     4 concerns critical public issues, including the ability of a private U.S. citizen to
                     5 express himself politically on U.S. soil without fear of intimidation and attack
                     6 from a foreign power. (FAC ¶ 14.) With respect to lobbyists like Muzin in
                     7 particular, though, there also is a strong public interest in transparency,
L L P




                     8 consistent with the very purpose of the FARA statutory regime. The activities
                     9 of foreign countries using U.S. nationals to impact the public policy of the
F L E X N E R




                    10 United States is of current public interest and concern. See, e.g., NBC News,
                    11 “The Mueller Effect: FARA Filings Soar In Shadow Of Manafort, Flynn
                    12 Probes, https://www.nbcnews.com/news/us-news/mueller-effect-fara-filings-
S C H I L L E R




                    13 soar-shadow-manafort-flynn-probes-n838571. As discussed above in Section
                    14 II of Plaintiff’s Opposition to the State of Qatar’s Motion to Stay, such
                    15 transparency is a primary purpose of FARA requirements. This litigation has
B O I E S




                    16 already forced Stonington to belatedly file mandatory supplemental FARA
                    17 filings. (See Wolosky Decl. ¶ 11, n.1.) Discovery in this litigation has forced
                    18 Muzin to end his relationship with Qatar entirely, and has forced third party
                    19 witness Joseph Allaham to disclose his own relationship with Qatar, end that
                    20 relationship, and stated his intent to file a belated FARA disclosure statement.
                    21 (Wolosky Decl. ¶¶ 11, n.1, 22-25, 32 & Exh. H). The public interest weighs
                    22 strongly in favor of continuing the discovery efforts arising from this action.
                    23                                   CONCLUSION
                    24         For the reasons set forth above and in Plaintiffs’ Opposition to Qatar’s
                    25 Motion to Stay, this Court should deny Muzin’s Motion to Stay the Case, or In
                    26
                    27 requested assurances. (Id. ¶ 25.)
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                     1 the Alternative to Stay Discovery.
                     2                                  Respectfully submitted,
                     3
                         Dated: June 11, 2018           BOIES SCHILLER FLEXNER LLP
                     4                                  By:   /s/ Lee S. Wolosky
                     5
                                                              LEE S. WOLOSKY
                     6                                        Counsel for Plaintiffs

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L L P




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F L E X N E R




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S C H I L L E R




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